                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


UNITED STATES OF AMERICA                  )                  Case No.: 3:12-CR-239
                                          )
      vs.                                 )
                                          )
CARRIE TYSON (13)                         )
_________________________________________ )

                                             ORDER


       THIS MATTER IS BEFORE THE COURT sua sponte regarding Defendant’s Motion

Requesting Waiver to Represent Herself (Doc. No. 527). On March 18, 2014, the Court

conducted a hearing on this and other matters. At the hearing, Defendant stated that she was in

the process of retaining counsel. Subsequently, the Court reserved judgment on the Defendant’s

Motion until such time as Defendant was able to retain counsel or concluded that she wished to

represent herself (Doc. No. 537). As some time has passed since the hearing, the Defendant is

directed to provide the Court with an update regarding her efforts to retain counsel.

       IT IS THEREFORE ORDERED that Defendant shall submit to the Court an update

regarding her efforts to retain counsel. This should be written and filed with the Clerk of Court

within fourteen (14) days of service of this order. The Clerk of Court is directed to provide a

copy of this order to the Defendant.

SO ORDERED.

 Signed: July 1, 2014




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